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 5
     Attorney for Defendant
 6   Richard Mendoza
 7                                UNITED STATES DISTRICT COURT
 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                        )   Case No.: 2:07-cr-00248-WBS
                                                      )
11                  Plaintiff,                        )   STIPULATION AND ORDER RE:
                                                      )   MODIFICATION OF SPECIAL
12          vs.                                       )   CONDITIONS OF RELEASE FILED
                                                      )   JUNE 22, 2009, TO MODIFY TO ALLOW
13   Richard Mendoza, et.al.,                         )   ATTENDANCE AT A FAMILY REUNION
                                                      )   ON JULY 17, 2010
14                  Defendant                         )
                                                      )
15                                                    )
                                                      )   JUDGE: Hon. Edmund F. Brennan
16                                                    )          United States Magistrate Judge
                                                      )
17                                                    )
                                                      )
18

19                                                  FACTS
20          On June 22, 2009, at a hearing on a Petition for Revocation of Pretrial Release, The
21   Honorable Kimberly J. Mueller, Magistrate-Judge, ordered that Defendant Richard Mendoza’s
22   pre-trial release conditions were to be modified, inter alia, to include a curfew, restricting
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 1   defendant Richard Mendoza to his residence from 6:00 p.m. to 4:00 a.m. Monday through
 2   Friday. 1
 3              Additionally, the Special Conditions of Release entered on June 22, 2009 ordered that
 4   Defendant Mendoza was “only permitted to leave your residence on a Saturday or Sunday to
 5   deal with issues pertaining to your coaching related responsibilities.” Mr. Mendoza coaches his
 6   son’s t-ball and football teams’ practices and games.
 7              On Saturday, July 17, 2010, from approximately 2:00 p.m. to 11:00 p.m., the extended
 8   Mendoza family will be having a family reunion at the home of Mr. Mendoza’s aunt and uncle,
 9   Eddie and Chris Bueno, in Salinas, California. Defendant Mendoza wishes to attend.
10              Both of Mr. Mendoza’s Pretrial Services Officers, Anthony Granados in San Jose and
11   Taifa Gaskins in Sacramento and the prosecuting AUSA have been consulted and all agree to the
12   requested modification.
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14                                                      STIPULATION
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16              Plaintiff, United States, and Defendant Richard Mendoza, through their undersigned
17   counsel, hereby stipulate and agree that the curfew condition entered on June 22, 2009 as
18   Document 419 shall be modified as follows:
19   “CURFEW: You are restricted to your residence from 6:00 p.m. to 4:00 a.m. Monday
20   through Friday. You are to remain on lockdown at your residence on Saturday and
21   Sunday. You are only permitted to leave your residence on a Saturday or Sunday to
22   deal with issues pertaining to your coaching related responsibilities. In addition, you
23   are only allowed to leave on Saturday and Sunday for coaching responsibilities if you
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         See Document 419, filed in this case, incorporated herein by this reference.




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 1   provide detailed information about where you will be going and what you will be doing, and you
 2   receive advance permission from Pretrial Services. However, one exception to this Order shall
 3   be granted. You shall be allowed to attend the family reunion to be held at the home of Eddie
 4   and Chris Bueno , in Salinas, CA, on Saturday, July 17, 2010 and may be away from your
 5   residence at said family reunion from the hours of 2:00 p.m. to 11:00 p.m. on July 17, 2010.”
 6   In all other respects, the June 22, 2009 order and the Special Conditions of Release ordered then
 7   shall remain in full force and effect.
 8   IT IS SO STIPULATED.
 9

10   DATED:         July 16, 2010                         BENJAMIN B. WAGNER
                                                          United States Attorney
11
                                                          By /s/ Jason Hitt
12

13
                                                          Jason Hitt
                                                          Assistant U.S. Attorney
14                                                        by Jan Karowsky

15
     DATED:         July 16, 2010                         JAN DAVID KAROWSKY
16                                                        Attorney at Law
                                                          A Professional Corporation
17
                                                          By /s/ Jan Karowsky
18
                                                          JAN DAVID KAROWSKY
19
                                                          Attorney for Defendant
20                                                        Richard Mendoza

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 1                                                ORDER
 2          Good Cause Appearing, IT IS HEREBY ORDERED that the curfew condition entered
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     on June 22, 2009 as Document 419 shall be modified as follows:
 4
     “CURFEW: You are restricted to your residence from 6:00 p.m. to 4:00 a.m. Monday
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     through Friday. You are to remain on lockdown at your residence on Saturday and
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     Sunday. You are only permitted to leave your residence on a Saturday or Sunday to
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     deal with issues pertaining to your coaching related responsibilities. In addition, you
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     are only allowed to leave on Saturday and Sunday for coaching responsibilities if you
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     provide detailed information about where you will be going and what you will be doing, and you
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     receive advance permission from Pretrial Services. However, one exception to this Order shall
11
     be granted. You shall be allowed to attend the family reunion to be held at the home of Mr.
12
     Mendoza’s aunt and uncle, Eddie and Chris Bueno, in Salinas, California, on Saturday, July
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     17, 2010 and may be away from your residence at said family reunion from the hours of 2:00
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     p.m. to 11:00 p.m. on July 17, 2010.” In all other respects, the June 22, 2009 order and the
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     Special Conditions of Release ordered then shall remain in full force and effect.
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     IT IS SO ORDERED
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18   Dated: July 16, 2010

19                                                 /s/ Kendall J. Newman
                                                   KENDALL J. NEWMAN
20                                                 United States Magistrate Judge
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